Case 4:20-cv-05640-YGR   Document 1328-5   Filed 03/07/25   Page 1 of 2




             EXHIBIT D
                (Redacted)
         Case 4:20-cv-05640-YGR           Document 1328-5         Filed 03/07/25      Page 2 of 2




BY E-MAIL                                                                             2001 M Street, NW Suite 600
                                                                                           Washington, DC 20036
                                                                                              +1 202 682 7000 tel
                                                                                             +1 202 857 0940 fax

                                                                                                     Mark Perry
                                                                                              +1 (202) 682-7511
March 5, 2025                                                                               Mark.Perry@weil.com




VIA E-MAIL

Gary Bornstein
Yonatan Even
Cravath, Swaine & Moore LLP
Two Manhattan West
375 Ninth Avenue
New York, NY 10001

Re: Epic Games, Inc. v. Apple Inc., No. 4:20-cv-5640 (N.D. Cal.)

Counsel:

On behalf of Apple, I write in response to Epic’s letter of February 28, 2025. Most of that letter is not
responsive to our original request, which was for Epic to propose an appropriate remedy for its improper
use of privileged information during the hearing. While we disagree with Epic’s position regarding
privilege designations, we see no reason to engage in a letter-writing campaign on the issue.

As to the issue actually raised by Apple: In a sealed session on February 25, the Court made clear that
references to                     as used in the relevant slide decks, are safeguarded by the attorney-client
privilege. To ensure consistency across the evidentiary record, Apple will ask the Court, by appropriate
motion, to strike reference to the corresponding portions of the transcript. We assume from the parties’
previous correspondence that Epic will oppose this motion.

As to Epic’s request for specific explanation of Apple’s privilege assertions over unique versions of
individual slide decks, no such explanation is warranted. Apple’s privilege assertions over the June 1
deck were twice upheld by independent judicial officers.

We are available to meet and confer at Epic’s convenience.

Sincerely,




Mark A. Perry
